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                       UNITED STATE DISTRICT COURT
                            DISTRICT OF IDAHO

PLANNEDPARENTHOODGREAT NORTH-
WEST, HAWAII,ALASKA, INDIANA, KEN-              Case No. l:23-cv-00142-BLW
TUCKY, on behalf of itself, its staff, physi-
cians and patients, CAITLIN GUSTAFSON,          DECLARATION OF ROBERT
M. D., on behalfof herselfand her patients,     WOOD
and DAMN L. WEYHRICH, M.D., on behalf
of himself and his patients,
               Plaintiffs,

V.

RAUL LABRADOR, in his capacity as the At-
torney General of the State of Idaho; MEM-
BERS OF THE IDAHO STATE BOARD OF
MEDICINEand IDAHO STATE BOARD OF
NURSING, in their official capacities,
COUNTy PROSECUTING ATTORNEYS, in
their official capacities,
               Defendants.
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          I, Robert Wood hereby declare and state as follows:

          1.     I am the prosecuting attorney for Madison County, Idaho, and am

 named as a Defendant in this action.


          2.     The Idaho Attorney General's Office never sent me a copy of the Attor-

 ney General's March 27, 2023 letter to Representative Brent Crane (the "Crane Let-

 ter").

          3.     I received that letter only in connection with this litigation.

          4.     I did not, and do not, regard the Crane Letter as any type of guidance or

 directive to me or to my office from the Office of the Attorney General.

          5.    My office has taken no position regarding the scope of enforcement un-

 der Idaho Code § 18-622.

          6.    My prosecutorial decisions are based on my own independent legal duty,

 interpretation of the law, and discretion.

          7.    This is true no less with respect to any prosecution under Idaho Code

 § 18-622.

          8.    The Attorney General has no supervisory authority over my work as a

prosecutor or the power to direct me to initiate any prosecution without my consent.

          9.    I am aware of no prosecution, or threat of prosecution, brought by any-

one in my office against Plaintiffs under Idaho Code § 18-622.

          10.   None of the Plaintiffs in this action have facilities in my county.

          I declare under penalty of perjury that the foregoing is true and correct.

          Dated: May 8, 2023.


Declaration of Robert Wood – 2
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                                   Robert Wood




Declaration of Robert Wood – 3
